           Case 2:18-cv-01510-RSM Document 13 Filed 02/12/19 Page 1 of 6



1                                                                     Honorable Ricardo S. Martinez

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6
                                UNITED STATES DISTRICT COURT
7                              WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
8
      ABDIKARIM KARRANI,
9                                                       No.: 2:18-cv-01510-RSM
                      Plaintiff,
10    v.
                                                        STIPULATED MOTION FOR ORDER
11    JETBLUE AIRWAYS CORPORATION, a                    CONTINUING DISCOVERY RELATED
      Delaware corporation,                             CASE DATE
12
                      Defendant.                        NOTE ON MOTION CALENDAR
13                                                      February 12, 2019

14           The undersigned parties, by and through their counsel of record, stipulate and respectfully

15   request that the Court strike the deadline for disclosure of expert testimony as set forth in the

16   December 14, 2018 Order Setting Trial Dates and Related Dates, and that the Court grant a 30-day

17   extension for disclosure of expert testimony.

18          Counsel from both parties have conferred and request an extension of only the expert

19   disclosure date. Due to both counsel and witness schedules, fact witness depositions are currently

     being scheduled in March. Extending the expert disclosure deadline by thirty days will mitigate
20
     the need for experts to file supplemental reports based on fact witness testimony. Good cause
21
     under Local Rule 10(g) exists as sequencing expert reports to follow fact witness depositions
22

23
      STIPULATED MOTION FOR ORDER CONTINUING                                        LAW OFFICES OF
24                                                                         MILLS MEYERS SWARTLING P.S.
      DISCOVERY RELATED CASE DATE                                           1000 SECOND AVENUE, 30TH FLOOR
      (NO. 2:18-cv-01510-RSM) - 1                                           SEATTLE, WASHINGTON 98104-1064
25                                                                              TELEPHONE (206) 382-1000
                                                                                FACSIMILE (206) 386-7343

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          Case 2:18-cv-01510-RSM Document 13 Filed 02/12/19 Page 2 of 6



1    will allow for the efficient development and discovery of expert opinions. The undersigned

2    parties jointly request that the expert disclosure date be continued by 30 days. This request will

3    not affect the other deadlines in the Case Schedule. The parties propose the following changes

4    to the case schedule:

5     DEADLINE                        Current Deadline                 Proposed Deadline

6     Disclosure of expert            February 27, 2019                March 29, 2019
      testimony under
7     FRCP 26(a)(2)
8

9
            DATED: February 12, 2019.
10

11    s/Samantha Pitsch____________ __________           s/Jack Sheridan__________________
      Caryn Geraghty Jorgensen, WSBA #27514              2/8/19 email authority
12    John Fetters, WSBA #40800                          John P. Sheridan, WSBA #21473
      Samantha Pitsch, WSBA #54190                       Mark W. Rose, WSBA #41916
13    MILLS MEYERS SWARTLING P.S.                        Alea M. Carr, WSBA #52540
      1000 2nd Avenue, 30th Fl                           THE SHERIDAN LAW FIRM, P.S.
14    Seattle, WA 98104                                  705 Second Avenue, Suite 1200
      Telephone: 206-382-1000                            Seattle, Washington 98104
15    Fax: 206-386-7374                                  Phone: (206) 682-67111
      cjorgensen@millsmeyers.com                         Fax: (206) 447-9206
16    jfetters@millsmeyers.com                           jack@sheridanlawfirm.com
      spitsch@millsmeyers.com                            mark@sheridanlawfirm.com
17                                                       alea@sheridanlawfirm.com

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      STIPULATED MOTION FOR ORDER CONTINUING                                       LAW OFFICES OF
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      DISCOVERY RELATED CASE DATE                                          1000 SECOND AVENUE, 30TH FLOOR
      (NO. 2:18-cv-01510-RSM) - 2                                          SEATTLE, WASHINGTON 98104-1064
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          Case 2:18-cv-01510-RSM Document 13 Filed 02/12/19 Page 3 of 6



1
                                    CERTIFICATE OF SERVICE
2           I certify that I electronically filed the foregoing document with the Clerk of the Court
3    using the CM/ECF system which will send notification of such filing to:

4           John P. Sheridan, jack@sheridanlawfirm.com, mark@sheridanlawfirm.com

            Mark W. Rose, mark@sheridanlawfirm.com, colton@sheridanlawfirm.com,
5
     alea@sheridanlawfirm.com
6
            I further certify that I mailed a true and correct copy of the foregoing to the following
7
     non-CM/ECF participant:
8
     and correct copy of the foregoing to the following non-CM/ECF participant:
9           N/A

10          DATED this 12 day of February 2019.

11

12                                                 Samantha Pitsch
                                                   Attorney
13

14

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      STIPULATED MOTION FOR ORDER CONTINUING                                      LAW OFFICES OF
24                                                                       MILLS MEYERS SWARTLING P.S.
      DISCOVERY RELATED CASE DATE                                         1000 SECOND AVENUE, 30TH FLOOR
      (NO. 2:18-cv-01510-RSM) - 3                                         SEATTLE, WASHINGTON 98104-1064
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1                                                                   Honorable Ricardo S. Martinez

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                                UNITED STATES DISTRICT COURT
7                              WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
8
      ABDIKARIM KARRANI,
9                                                      No.: 2:18-cv-01510-RSM
                      Plaintiff,
10    v.                                               ORDER GRANTING STIPULATED
                                                       MOTION FOR ORDER CONTINUING
11    JETBLUE AIRWAYS CORPORATION, a                   DISCOVERY RELATED CASE DATE
      Delaware corporation,
12                                                     [PROPOSED]
                      Defendant.
13                                                      NOTE ON MOTION CALENDAR
                                                        February 12, 2019
14

15           This matter came before the Court on the parties’ Stipulated Motion for Order Continuing

16   Discovery Related Case Date. The Court has reviewed and considered the files and pleadings in

17   this case and:

             ACCORDINGLY, the Court hereby ORDERS that the Stipulated Motion for Order
18
     Continuing Discovery Related Case Date is GRANTED.
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23
      ORDER GRANTING STIPULATED MOTION FOR                                       LAW OFFICES OF
24                                                                       MILLS MEYERS SWARTLING P.S.
      ORDER CONTINUING DISCOVERY RELATED CASE                             1000 SECOND AVENUE, 30TH FLOOR
      DATE (NO. 2:18-cv-01510-RSM) - 1                                    SEATTLE, WASHINGTON 98104-1064
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          Case 2:18-cv-01510-RSM Document 13 Filed 02/12/19 Page 5 of 6



1           The Court enters the following revisions to the case schedule.

2     DEADLINE                        Current Deadline                New Deadline

3     Disclosure of expert            February 27, 2019               March 29, 2019
      testimony under
4     FRCP 26(a)(2)
5

6           Dated this ____ day of _________ 2019.
7

8                                                  _____________________________________
                                                   Honorable Ricardo S. Martinez
9                                                  United States District Court Judge

10
     Presented by:
11

12    s/Samantha Pitsch____________ __________           s/Jack Sheridan__________________
      Caryn Geraghty Jorgensen, WSBA #27514              2/8/19 email authority
13    John Fetters, WSBA #40800                          John P. Sheridan, WSBA #21473
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      cjorgensen@millsmeyers.com                         Fax: (206) 447-9206
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      spitsch@millsmeyers.com                            mark@sheridanlawfirm.com
18                                                       alea@sheridanlawfirm.com

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7
     non-CM/ECF participant:
8
     and correct copy of the foregoing to the following non-CM/ECF participant:
9           N/A

10          DATED this 12 day of February 2019.

11

12                                                 Samantha Pitsch
                                                   Attorney
13

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